           8:08-cr-00328-LES-TDT                      Doc # 82          Filed: 06/30/15            Page 1 of 1 - Page ID # 203
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                   DISTRICT OF District
                                                    __________ NEBRASKA of __________

                    United States of America
                               v.                                          )
                OSCAR ARZALUZ-ESQUIVEL                                     )
                                                                           )    Case No: 8:08CR328
                                                                           )    USM No: 22514-047
Date of Original Judgment:                            02/03/2009           )
Date of Previous Amended Judgment:                                         )    David R. Stickman
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   135                     months is reduced to 120 months                           .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          02/03/2009              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  06/30/2015                                                                /s/ Lyle E. Strom
                                                                                                         Judge’s signature


Effective Date:              11/01/2015                                                    LYLE E. STROM, Senior Judge
                     (if different from order date)                                                    Printed name and title
